Case 8:15-cv-00073-VMC-AEP Document 12 Filed 03/10/15 Page 1 of 2 PageID 46



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
                            CASE NO: 8:15-cv-00073-VMC-AEP

ALAN L. LAUB, DDS and ALAN L.
LAUB, DDS, INC., an Ohio corporation,
individually and as the representatives of
a class of similarly-situated persons,

       Plaintiffs,

v.
CONSUMER ENERGY SOLUTIONS,                            CLASS ACTION
INC., DIRECT ENERGY SERVICES,
LLC, and JOHN DOES 1-10,

      Defendant.
________________________________/

                                   NOTICE OF DISMISSAL

       Plaintiffs ALAN L. LAUB, DDS and ALAN L. LAUB, DDS, INC. voluntarily dismiss

their claims with prejudice as to themselves, and without prejudice as to the putative class

members, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

                                              Respectfully submitted,

                                              s/Ryan M. Kelly
                                              Ryan M. Kelly, Esq.
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Case 8:15-cv-00073-VMC-AEP Document 12 Filed 03/10/15 Page 2 of 2 PageID 47



                             CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 10, 2015, the foregoing document was

electronically filed with the Clerk of Court using CM/ECF, which will serve all counsel of

record.

                                                s/ Ryan M. Kelly
                                                RYAN M. KELLY




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